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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                          CASE NO. 13-22500-CIV-ALTONAGA/McALILEY

       JONATHAN LORD, M.D.,

             Plaintiff,
       v.

       UNIVERSITY OF MIAMI,

             Defendant.
       ________________________/

             DEFENDANT’S MOTION FOR JUDGMENT AS A MATTER OF LAW

            Defendant, University of Miami (the “University”), pursuant to Federal Rule of Civil

   Procedure 50(a), moves for entry of judgment as a matter of law, or a directed verdict, on the single

   claim asserted against it by Plaintiff, Jonathan Lord, M.D. 1 The University respectfully submits

   that there exists no disputed issue of material fact as to either liability or damages and that it is

   entitled to judgment as a matter of law on Plaintiff’s single claim of retaliation under the False

   Claims Act, 31 U.S.C. § 3730(h) (“FCA”), in his operative Third Amended Complaint (D.E. 101).

                                      MEMORANDUM OF LAW

   I.       Legal Standard for Judgment as a Matter of Law

            A motion for judgment as a matter of law is governed by Rule 50(a) of the Federal Rules

   of Civil Procedure, which provides:

                   If a party has been fully heard on an issue during a jury trial and the
                   court finds that a reasonable jury would not have a legally sufficient
                   evidentiary basis to find for the party on that issue, the court may:
                   (A)     resolve the issue against the party; and


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          Rule 50(a) was amended in 1991 “to replace the term ‘directed verdict’ with ‘judgment as
   a matter of law.’” U.S. v. One 28 Foot Contender Motor Vessel, 240 F. App’x 842, 843 (11th Cir.
   2007) (citing Fed. R. Civ. P. 50 (1991 Amendments)).
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                  (B)    grant a motion for judgment as a matter of law against the
                         party on a claim or defense that, under the controlling law,
                         can be maintained or defeated only with a favorable finding
                         on that issue.

   Fed. R. Civ. P. 50(a)(1). In other words, judgment as a matter of law should be granted when a

   plaintiff has failed to present legally sufficient evidence to prove an element of his claim. Xtec,

   Inc. v. Hembree Consulting Services, Inc., 183 F. Supp. 3d 1245, 1252 (S.D. Fla. 2016) (Altonaga,

   J.) (citing Pickett v. Tyson Fresh Meats, Inc., 420 F.3d 1272, 1278 (11th Cir. 2005)). In

   adjudicating such a motion, “the court should review all of the evidence in the record,” and in

   doing so, “the court must draw all reasonable inferences in favor of the nonmoving party, and it

   may not make credibility determinations or weigh the evidence.” Reeves v. Sanderson Plumbing

   Prods., Inc., 530 U.S. 133, 150 (2000).

          Although the court will review the evidence in light most favorable to the non-moving

   party, “the non-movant must put forth more than a mere scintilla of evidence suggesting that

   reasonable minds could reach differing verdicts.’” XTec, 183 F. Supp. 3d at 1252 (citing Campbell

   v. Rainbow City, Ala., 434 F. 3d 1306, 1312 (11th Cir. 2006) (in turn quoting Abel v. Dubberly,

   210 F.3d 1334, 1337 (11th Cir. 2000)). Moreover, the court can disregard testimony “if ‘reasonable

   persons could not believe’ it because it ‘contradicts indisputable physical facts or laws.’”

   Whitehead v. Bond, 680 F. 3d 919, 925 (7th Cir. 2012) (citing Latino v. Kaizer, 58 F. 3d 310, 315

   (7th Cir. 1995)).

   II.    The University is Entitled to Judgment as a Matter of Law on Count I of Plaintiff’s
          Third Amended Complaint (Retaliation under the False Claims Act)

          The anti-retaliation provision of the FCA provides as follows:

                  Any employee . . . shall be entitled to all relief necessary to make
                  that employee . . . whole, if that employee . . . is discharged,
                  demoted, suspended, threatened, harassed, or in any other manner
                  discriminated against in the terms and conditions of employment
                  because of lawful acts done by the employee . . . in furtherance of


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                   an action under this section or other efforts to stop 1 or more
                   violations of this subchapter.

   31 U.S.C. § 3730(h)(1) (emphasis supplied). A plaintiff must prove three elements to establish a

   retaliation claim: “(1) he engaged in protected conduct, (2) the defendant took adverse action

   against his employment, and (3) the defendant took the adverse action because of his protected

   conduct.” Kalch v. Raytheon Tech. Servs. Co., LLC, No. 616CV1529ORL40KRS, 2017 WL

   3394240, at *3 (M.D. Fla. Aug. 8, 2017) (emphasis supplied) (citing Reynolds v. Winn-Dixie

   Raleigh Inc., 620 F. App’x 785, 791 (11th Cir. 2015) and Mack v. Augusta-Richmond Cty., 148 F.

   App’x 894, 896–97 (11th Cir. 2005)). The Eleventh Circuit applies the “but-for causation

   standard” to FCA retaliation claims. Nesbitt v. Candler Cty., 945 F. 3d 1355, 1360 (11th Cir. 2020)

   The but-for standard requires a plaintiff to “‘show that the harm would not have occurred in the

   absence of[,] that is, but for’ his protected conduct.” Nesbitt, 945 F. 3d at 1358 (emphasis and

   alterations in original).

           Plaintiff failed to provide a legally sufficient evidentiary basis for the Jury to find in his

   favor as to the first and third elements of his claim. First, the trial evidence shows that Plaintiff

   never engaged in statutorily-protected activity. Second, Plaintiff failed to present evidence that his

   alleged protected conduct was the but-for cause of the University’s decision to terminate his

   employment. Rather, the trial evidence establishes that the University’s decision to terminate Dr.

   Lord’s employment was based on legitimate, non-retaliatory factors related to his work

   performance (including a Petition calling for his removal and low workplace morale caused by his

   “bull in a China shop” behavior). Plaintiff has presented no evidence from which the Jury can

   reasonably conclude that the University terminated Dr. Lord because of his alleged protected

   activity. For either of these reasons, judgment as a matter of law in favor of the University is

   proper. See Christopher v. Fla., 449 F. 3d 1360, 1364 (11th Cir. 2006) (“JMOL is appropriate



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   when a plaintiff presents no legally sufficient evidentiary basis for a reasonable jury to find for

   him on a material element of his cause of action.”).

          A.      Plaintiff Failed to Present a Legally Sufficient Evidentiary Basis for a
                  Reasonable Jury to Find that he Engaged in Protected Conduct

          Section 3730(h)(1) protects “lawful acts done by the employee . . . in furtherance of an

   action under this section or other efforts to stop 1 or more violations of this subchapter.” 31 U.S.C.

   § 3730(h)(1). In other words, protected conduct under § 3730(h)(1) “can be parsed into two

   clauses: the litigation clause and the opposition clause.” Arthurs v. Global TPA LLC, 208 F. Supp.

   3d 1260, 1265 (M.D. Fla. 2015). The “litigation clause” protects “conduct in furtherance of FCA

   litigation,” and the “opposition clause” protects conduct “taken as an effort to stop the [FCA]

   violation.” Arthurs v. Glob. TPA LLC, 208 F. Supp. 3d 1260, 1265–66 (M.D. Fla. 2015) (citations

   and internal quotations omitted). As to the former clause, FCA litigation must be a “distinct

   possibility.” See Brown v. Morehouse Coll., 829 Fed. Appx. 942, 945 (11th Cir. 2020) (“protected

   activity under the FCA includes those employee actions by which FCA litigation was ‘a distinct

   possibility.’”) (quoting Childree v. UAP/GA AG Chem., Inc., 92 F.3d 1140, 1146 (11th Cir. 1996)).

   As to the latter clause, an employee must “have an objectively ‘reasonable belief’ of an FCA

   violation.” Briggs for Use and Benefit of U.S. v. QuantiTech Inc., No. 21-11448, 2022 WL

   1308494, *2 (11th Cir., May 2, 2022); Hickman v. Spirit of Athens, Alabama, Inc., 985 F. 3d 1284,

   1288 (11th Cir. 2021).

                  1.        Plaintiff Did Not Engage in Any Protected Conduct in Furtherance of
                            an Action Under the FCA

          Plaintiff failed to present sufficient trial evidence to invoke the litigation clause set forth in

   31 U.S.C. § 3730(h)(1), which protects an employee’s “lawful acts . . . in furtherance of” a FCA

   lawsuit. Protected conduct under the litigation clause:




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                  requires a nexus with the in furtherance of prong of [a False Claims
                  Act] action,’ which ‘involves determining whether [plaintiff’s]
                  actions sufficiently furthered an action filed or to be filed under the
                  [FCA].’ . . . ‘Protected conduct’ includes ‘investigation for,
                  initiating of, testimony for, or assistance in’ an FCA suit. . . . It also
                  encompasses internal reports of FCA violations. . . . Protected
                  activity does not, however, include ‘an employee’s investigation of
                  nothing more than his employer’s non-compliance with federal or
                  state regulations.’

   U.S. v. Novartis Pharmaceuticals Corp., No. 15-6547, 2020 WL 17891188, at *3 (D.N.J. Apr. 16,

   2020) (citations omitted).

          The trial evidence demonstrates that, on December 31, 2013, Plaintiff was terminated from

   his executive/administration positions at the University; over the following days, the decision was

   made not to renew Plaintiff’s faculty position. It was not until July 12, 2013, however, that Plaintiff

   filed his Complaint in this action. He failed to present any evidence that filing a § 3730(h) qui tam

   action was a distinct possibility, or that he even considered it, while he was still working for the

   University.

                  2.      Plaintiff Did Not Engage in Any Protected Conduct to Stop One or
                          More Violations of the FCA

          Plaintiff also failed to present sufficient trial evidence to invoke the opposition clause in

   31 U.S.C. § 3730(h)(1). By the explicit terms of the statute, only conduct which is taken as an

   “effort to stop” a violation is protected. 31 U.S.C. § 3730(h)(1). Therefore, “a person who acts to

   oppose an FCA violation for reasons other than protecting the federal government from potential

   fraud has not engaged in protected conduct. Likewise, a person who quietly refuses to participate

   in violative behavior with the silent hope that others will take notice is also not protected.” Arthurs

   v. Global TPA LLC¸208 F. Supp. 3d 1260, 1266 (M.D. Fla. 2015). “[T]he FCA’s purpose can only

   be accomplished by encouraging individuals protected by the statute to ‘come forward with




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   allegations of fraud perpetrated upon the government.’” Arthurs, 208 F. Supp. 3d at 1266 (citing

   Roberts v. Accenture, LLP, 707 F. 3d 1011, 1018 (8th Cir. 2013)).

          It is undisputed that Plaintiff never complained about the University’s submission of false

   claims to the Federal Medicare and/or Medicaid programs. Further, Plaintiff’s claim that he

   advised President Shalala on December 14, 2012, that - - based on the preliminary TMG

   assessment - - the University was engaged in fraud and faced a $10 million exposure - - is belied

   by the record evidence. As of that date, there was absolutely no finding or conclusion that fraud or

   liability exposure existed. To the contrary, both TMG and Dr. McCafferty-Fernandez (the point

   person, as the Chief Medical Compliance Officer at the University, for the TMG assessment)

   simply noted that further review was necessary; at that point in time, a billing audit had not even

   been authorized, let alone conducted, and no conclusions had been reached. 2 Plaintiff’s alleged

   statements are not objectively reasonable and cannot support his claim.

          In sum, Plaintiff has presented no evidence that he acted in furtherance of a qui tam action

   or that he took any actions designed to stop or avert any violations of the FCA. There is simply no

   legally sufficient evidentiary basis upon which the Jury could find that Plaintiff engaged in a

   protected activity. As such, the University is entitled to judgment as a matter of law.




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           In fact, Dr. McCafferty-Fernandez - - who Plaintiff concedes was the University’s point of
   contact for the TMG assessment - - testified that TMG never found fraud and that neither TMG or
   she ever reported to anyone that the University was engaged in fraud. (9/30/22 testimony at
   approximately 3:25 p.m.) Further, she admitted that TMG could not report fraud or probable fraud
   because TMG did not any billing data. (Id. at 3:45 p.m.)


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          B.      Plaintiff Failed to Present a Legally Sufficient Evidentiary Basis for a
                  Reasonable Jury to Find that His Alleged Protected Activity Was the But-For
                  Cause of the University’s Decision to Terminate His Employment

                  1.      Plaintiff Failed to Present Evidence of the Requisite But-For Causation

          Plaintiff failed to set forth a legally sufficient evidentiary basis for the Jury to find in his

   favor on the third element of a retaliation claim: but-for causation. To establish causation, a

   plaintiff must demonstrate that the final decision-maker was aware of his protected conduct:

                  To establish causation under § 3730(h)(1), the plaintiff must show
                  that the final decision-maker who approves or implements the
                  adverse employment action knew about the plaintiff’s protected
                  conduct. . . . It is not enough for other employees, supervisors, or
                  members of the employer’s management to know about the
                  plaintiff’s protected conduct where these individuals have no
                  decision-making authority.

   Kalch v. Raytheon Tech. Servs. Co., LLC, No. 616CV1529ORL40KRS, 2017 WL 3394240, at *3

   (M.D. Fla. Aug. 8, 2017) (internal citation omitted; emphasis supplied). See also Reynolds v. Winn-

   Dixie Raleigh Inc., 620 F. App’x 785, 792 (11th Cir. 2015) (affirming summary judgment on FCA

   retaliation claim where the plaintiff “failed to establish causation because he did not present any

   evidence that the decision makers . . . knew that [he] had spoken . . . about potential false claims”);

   Strickland v. Water Works & Sewer Bd. of City of Birmingham, 239 F. 3d 1199, 1208 (11th Cir.

   2001) (“[a] decision maker cannot have been motivated to retaliate by something unknown to

   him”) (quoting Bechtel Constr. Co. v. Sec’y of Labor, 50 F.3d 926, 934 (11th Cir. 1995)).

          It is also well-established that an employee’s intervening act of misconduct severs any

   causal connection that might be inferred from temporal proximity between the alleged statutorily

   protected activity and the termination decision. See, e.g., Henderson v. FedEx Express, 442 F.

   App’x 502, 506 (11th Cir. 2011); Hankins v. AirTran Airways, Inc., 237 F. App’x 513, 520-21

   (11th Cir. 2007). See also Schoebel v. Am. Integrity Ins. Co. of Fla., No. 8:14–cv–426–T–27AEP,

   2015 WL 4231670, at *7 (M.D. Fla. July 10, 2015) (granting summary judgment to employer


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   because, notwithstanding the close temporal proximity between the plaintiff’s protected conduct

   and her termination, she indisputably violated her employer’s e-mail policy, which was a

   legitimate reason for the termination unrelated to her protected conduct).

            Furthermore, “in a retaliation case, when an employer contemplates an adverse

   employment action before an employee engages in protected activity, temporal proximity between

   the protected activity and the subsequent adverse employment action does not suffice to show

   causation.” Buchanan v. Delta Air Lines, Inc., 727 F. App’x 639, 642 (11th Cir. 2018) (per curiam)

   (citing Drago v. Jenne, 453 F.3d 1301, 1308 (11th Cir. 2006)). In Buchanan, the plaintiff claimed

   Delta retaliated by terminating her for filing an internal complaint of discrimination after she was

   placed on suspension for a policy violation. Buchanan, 727 F. App’x at 642. The court found that

   the “only causal link Buchanan cites between her internal complaint and her subsequent

   termination is temporal proximity. Because her internal complaint occurred after she was already

   placed on suspension and under investigation, temporal proximity alone cannot establish

   causation.” Id. (emphasis supplied). In other words, “employees who are already on thin ice

   [cannot] insulate themselves against termination or discipline by preemptively making a

   discrimination complaint.” Alvarez v. Royal Atl. Developers, Inc., 610 F.3d 1253, 1270 (11th Cir.

   2010).

            Here, it is undisputed that President Shalala was the final decisionmaker with respect to

   Plaintiff’s termination. Although Plaintiff claims to have reported concerns to others (such as

   Hillarie Bass or the Executive Committee of the Board of Trustees), there is absolutely no evidence

   that those alleged reports ever were shared with President Shalala (let alone were shared prior to

   her decision to terminate). That undisputed fact is critical:

                   Brungart also argues that even if the decision maker did not have
                   knowledge of the protected conduct, knowledge should be



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                  “imputed” to the corporation where other corporate officials or
                  supervisors had knowledge of it. That position is, of course,
                  foreclosed by our Clover decision, because the defendant in that
                  case was a corporation. Even if the Clover decision did not exist,
                  we would not be persuaded to adopt Brungart's imputed knowledge
                  theory. The BellSouth corporation itself did not actually make the
                  decision to take the adverse employment action; Nelson made that
                  decision, albeit on the corporation's behalf. Because Nelson did
                  not know of the protected conduct, he could not have taken that
                  action on the corporation's behalf because of the protected conduct.
                  This is another way of saying that the fact the employer is a
                  corporation does not relieve a plaintiff of the burden of showing a
                  causal connection between the protected conduct and the decision
                  to take the adverse employment action.

   Brungart v. BellSouth Telecomms., Inc., 231 F. 3d 791, 800 (11th Cir. 2000). See also Clover v.

   Total Sys. Servs., Inc., 176 F. 3d 1346, (11th Cir. 1999) (reversing denial of former employer’s

   motion for judgment as a matter of law on Title VII claims and noting “[B]ecause Clover failed to

   present sufficient evidence either that (1) Miller was aware of her protected conduct or (2) anyone

   other than Miller was a decision-maker, we conclude she did not present sufficient evidence to

   permit a jury to reasonably find the requisite causal connection between her protected activity and

   her termination”); Summers v. City of Dothan, Ala., 444 Fed. Appx. 346, 352 (11th Cir. 2011)

   (“We have made clear, however, that in the context of Title VII retaliation claims ‘neither a court

   nor a jury may impute knowledge to a decision-maker who has sworn he had no actual

   knowledge.’”) (quoting Brochu v. City of Riviera Beach, 304 F.3d 1144, 1156 (11th Cir. 2002)). 3

          Relatedly, complaints made after the termination decision has been made cannot support

   causation. Obviously, one cannot retaliate against someone for something that happens after the

   adverse action has occurred. “Logic dictates that the protected conduct must precede the act of

   retaliation.” Tucker v. Fla. Dep't of Transportation, 678 F. App'x 893, 896 (11th Cir. 2017) (citing



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           Here, for example, President Shalala testified unequivocally that she had no knowledge of
   Plaintiff’s alleged lunch with Hillarie Bass or his purported memorandum summarizing same.


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   Brungart v. BellSouth Telecomms., Inc., 231 F.3d 791, 799 (11th Cir. 2000) (“A decision maker

   cannot have been motivated to retaliate by something unknown to him.”) 4

           It also bears noting that, in both the cross-examination and re-direct examination of

   Plaintiff, he consistently testified that his alleged complaints were part of his required job

   responsibilities and that he regularly made reports (as to compliance and other matters) to President

   Shalala and the Board of Trustees. Plaintiff even admitted, in both his testimony and in a document

   entered into evidence, that his alleged efforts were to “fulfill [his] role as a compliance official.”

   (See 9/20/22 testimony at approximately 1:33 p.m.; see also Joint Ex. 16 at 3.)

            Because Plaintiff was the Chief Compliance Officer, Plaintiff must do more - - as a

   compliance employee - - to put his employer on notice of his alleged protected activity. See Mack

   v. Augusta-Richmond Cty., Ga., 148 Fed. Appx. 894, 897 (11th Cir. 2005) (quoting with approval

   decisions from the First and Fourth Circuits, which recognized the principle that compliance

   employees must do more than their job duties to engage in protected activity). Simply put, Plaintiff

   never put the decisionmaker, President Shalala, on notice of protected conduct; that further vitiates

   his claim. 5




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           In this way, Plaintiff’s reliance on his January 18, 2013, e-mail to the Executive Committee
   of the Board of Trustees, is misplaced. By that date, Plaintiff already had been advised that his
   employment had been terminated as to all positions. In fact, Plaintiff testified that he sent the e-
   mail after he had been told that he had been fired from all positions. (See 9/20/22 testimony at
   approximately 4:28 p.m.) The fact that the terminations were effective as of January 31 (as to his
   executive roles) and July 31 (as to his professor role) is immaterial. The Eleventh Circuit has
   consistently held that an adverse employment action is deemed to have occurred when the
   employer made the final decision. Liu v. Univ. of Miami, 138 F. Supp. 3d 1360, 1369 (S.D. Fla.
   2015) (citing Thomas v. CVS/Pharmacy, 336 Fed. Appx. 913, 915 (11th Cir. 2009), in turn citing
   Del. State Coll. v. Ricks, 449 U.S. 250, 258, 261–62, aff'd, 693 Fed. Appx. 793 (11th Cir. 2017).
   5
           At a minimum, the Court should direct a verdict in favor of the University on Question 2
   of the Verdict Form (“That all of Dr. Lord’s ‘protected activity’ was within the scope of his
   required job duties as Chief Compliance Officer for the University of Miami?”).



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          Giving Plaintiff every benefit of the doubt, the only possible instance of protected conduct

   occurred on December 14, 2012, during his alleged meeting with President Shalala. Given the

   undisputed evidence above regarding the status of the TMG assessment (and that no findings had

   been reached) and Plaintiff’s compliance role, there is no legally sufficient evidentiary basis for

   the Jury to find that President Shalala knew that Plaintiff was engaged in alleged protected

   conduct. 6 Without her knowledge that Plaintiff engaged in lawful acts in furtherance of an action

   under the FCA, or to stop one or more instances of fraudulent Medicare/Medicaid billing, President

   Shalala could not have terminated Plaintiff’s employment in retaliation. His activities simply were

   not the but-for causation of his termination.

                  2.      The Trial Evidence Shows that Plaintiff Was Terminated for
                          Legitimate Reasons: Unsatisfactory Conduct and Demeanor

          The trial evidence shows that, prior to December 14, President Shalala was aware of (1)

   the Petition seeking Plaintiff’s removal, along with the growing unrest and low morale of the

   faculty directed toward Plaintiff and (2) the problems regarding Plaintiff’s Reign of Terror

   management/communication style - - the very reasons why Plaintiff’s employment was

   terminated.

          A legitimate reason for an adverse action is a reason independent from the alleged basis of

   retaliation. Sheppard v. Sears Roebuck & Co., 391 F. Supp. 2d 1168, 1180 (S.D. Fla. 2005).

   Neither the plaintiff nor the court may recast the reason given by the employer for taking a

   particular action. Chapman v. AI Transp., 229 F.3d 1012, 1030 (11th Cir. 2000). “Federal courts

   ‘do not sit as a super-personnel department that reexamines an entity’s business decisions. No

   matter how medieval a firm’s practices, no matter how high-handed its decisional process, no


   6
          Plaintiff himself described the meeting as “regular” and not extraordinary, and he testified
   that he regularly met with President Shalala on many issues, including compliance. (9/21/22
   testimony at approximately 10:50 a.m.)


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   matter how mistaken the firm’s managers, the ADEA does not interfere. Rather our inquiry is

   limited to whether the employer gave an honest explanation of its behavior.” Chapman, 229 F. 3d

   at 1030 (citations omitted). In other words, an employer may take action “for a good reason, a bad

   reason, a reason based on erroneous facts, or for no reason at all, as long as its action is not for a

   discriminatory reason.” Nix v. WLCY Radio/Rahall Commc’ns, 738 F.2d 1181, 1187 (11th Cir.

   1984) (quoting Jones v. Bessemer Carraway Med. Ctr., 151 F.3d 1321, 1324 n.16 (11th Cir.

   1998)).

             It is well-established that an employee’s poor work performance is a legitimate, non-

   discriminatory reason for an adverse employment action. See, e.g., Rio v. Runyon, 972 F. Supp.

   1446, 1460 (S.D. Fla. 1997) (noting that “unsatisfactory work performance” is a legitimate reason);

   Arnold v. Burger Queen Sys., Inc., 509 So. 2d 958, 959 (Fla. 2d DCA 1987) (same). Further,

   complaints about an employee’s “service and demeanor” and co-worker complaints about an

   employee being “difficult to work with” and having a “bad attitude” are sufficient grounds for

   termination. Johnson v. Great Expressions Dental Ctrs of Fla., P.A., 132 So. 3d 1174, 1178–79

   (Fla. 3d DCA 2014). In addition, the law is clear that “[a]n employer who fires an employee under

   the mistaken but honest impression that the employee violated a work rule is not liable for

   discriminatory conduct.” Damon v. Fleming Supermarkets of Fla., Inc., 196 F.3d 1354, 1363 n.3

   (11th Cir. 1999).

             Here, the trial evidence demonstrates that there were multiple complaints against Plaintiff.

   He was involved in the decision to institute the lay-offs and the execution of that decision.

   Employee morale was very low. 7 Further, there was unrebutted evidence presented regarding




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          During his testimony, Plaintiff himself admitted that he knew there were issues about
   morale. (See 9/20/22 testimony at approximately 4:00 p.m.)


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   Plaintiff’s demeaning style of leadership: (1) referring to Dr. Nemeroff as “needy” and a

   “sycophant”; (2) ignoring instructions from Joseph Natoli regarding an offer letter and telling him

   that he “didn’t work for him”; (3) pounding on the desk of Don Steigman (COO of Jackson Health)

   during a meeting with such force that items were knocked off his desk; and (4) holding up the “L”

   sign (signifying “loser”) to refer to a group of faculty after a meeting.

           The situation was so dire that, in the last half of 2012, faculty members within the

   University Miller School of Medicine began circulating a Petition of “No Confidence” in Plaintiff

   and Dean Goldschmidt, noting their “failed leadership.” (Joint Ex. 9.) The Petition was signed by

   hundreds of faculty members and was described by numerous witnesses as “unprecedented” both

   at the University and in academia at large. Plaintiff and Dean Goldschmidt shared that Petition

   with President Shalala on December 6, 2012 - - 8 days before Plaintiff’s meeting with President

   Shalala. (Id.)

           In sum, there is no legally sufficient evidentiary basis for a Jury to find that Plaintiff’s

   alleged protected activity was the but-for cause of the termination decision. Rather, the evidence

   requires one conclusion: his employment was terminated because of Plaintiff’s destructive style of

   leadership. Said another way, Plaintiff was “on thin ice” and the ice finally broke.

           C.       Plaintiff has Failed to Overcome the University’s Judicial Estoppel Defense.

           “The equitable doctrine of judicial estoppel is intended to ‘prevent the perversion of the

   judicial process’ and ‘protect [its] integrity . . . by prohibiting parties from deliberately changing

   positions according to the exigencies of the moment.’” Slater v. United States Steel Corp., 871

   F.3d 1174, 1180–81 (11th Cir. 2017) (quoting New Hampshire v. Maine, 532 U.S. 742, 749-50

   (2001)). “When a party does so, the doctrine of judicial estoppel allows a court to exercise its

   discretion to dismiss the party's claims.” Id. The Eleventh Circuit “employs a two-part test to guide

   district courts in applying judicial estoppel: whether (1) the party took an inconsistent position


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   under oath in a separate proceeding, and (2) these inconsistent positions were calculated to make

   a mockery of the judicial system.” Id. (citations and quotations omitted). The Court should

   consider “both the plaintiff's actions—whether he made inconsistent statements—and his

   motive—whether he intended to make a mockery of the judicial system.” Id. “A motivation to

   conceal may be shown by evidence of a potential financial benefit that could result from

   concealment.” U.S. ex rel. Long v. GSDMIdea City, L.L.C., 798 F.3d 265, 274 (5th Cir. 2015)

   (applying judicial estoppel to bar FCA claim) (citing Love v. Tyson Foods, Inc., 677 F.3d 258, 262

   (5th Cir. 2012)). 8

           Although judicial estoppel is often invoked against bankruptcy debtors, the doctrine is

   available in any civil action. Stabielli v. Eagle Roofing Products Florida, LLC, No. 12-80766-CIV,

   2013 WL 12101139, at *2 (S.D. Fla. Aug. 19, 2013) (collecting cases and granting summary

   judgment on the basis of judicial estoppel). See also Schaffart v. ONEOK, Inc., 686 F.3d 461, 470

   (8th Cir. 2012) (noting that employee’s statements in divorce deposition could support judicial

   estoppel defense).

           This Court has invoked the doctrine of judicial estoppel to prevent a party from asserting

   conflicting positions before different tribunals. See, e.g., Drew Estate Holding Co., LLC v.

   Fantasia Distribution, Inc., 875 F. Supp. 2d 1360, 1370–71 (S.D. Fla. 2012) (Altonaga, J.) (“The

   policies underlying the doctrine include preventing internal inconsistency, precluding litigants

   from playing fast and loose with the courts, and prohibiting parties from deliberately changing



   8
           The Eleventh Circuit recently noted in a published decision that the inconsistent statements
   from the prior proceeding do not need to be made under oath. Smith v. Haynes & Haynes P.C.,
   940 F.3d 635, 643 n.4 (11th Cir. 2019) (“The requirement that the prior inconsistent statement be
   made under oath is not inflexible or exhaustive. More important than whether statements are under
   oath is whether they are intended to mislead and deceive the court.”) (internal citation and
   quotation omitted). In any event, Plaintiff made numerous statements - - sworn and unsworn - - in
   his divorce case that are entirely inconsistent with his position in this case.


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   positions according to the exigencies of the moment.”) (quoting United States v. McCaskey, 9 F.3d

   368, 378 (5th Cir. 1993)); Ramsay v. Broward Cty. Sheriff's Office, No. 09-60456-CIV, 2009 WL

   10668269, at *2–3 (S.D. Fla. July 31, 2009) (“The Court finds that Plaintiff is barred from raising

   arguments of deficiencies of the District Court's decisions in the prior cases by the doctrine of

   judicial estoppel.”), R&R adopted, D.E. 31 by Altonaga, J. (Aug. 18, 2009); Ocean's 11 Bar &

   Grill, Inc. v. Indem. Ins. Corp. RRG, No. 11-61577-CIV, 2012 WL 5398625, at *19 (S.D. Fla.

   Nov. 2, 2012) (Altonaga, J.) (“doctrine of judicial estoppel, which prevents a party from asserting

   a position in a legal proceeding that is contrary to a position taken previously in the same or earlier

   proceeding, may be invoked through statements made by an attorney and imputed to the party”)

   (citing Hall v. GE Plastic Pac. PTE Ltd., 327 F.3d 391, 396 (5th Cir. 2003), aff'd, 522 Fed. Appx.

   696 (11th Cir. 2013)).

            In affirming a district court’s application of judicial estoppel, the Eleventh Circuit has

   stated

                   In sum, the district court did not abuse its discretion when it invoked
                   the flexible, equitable doctrine of judicial estoppel here. “‘Equity
                   eschews mechanical rules’ and ‘depends on flexibility.’” Slater, 871
                   F.3d at 1187 (quoting Holmberg v. Armbrecht, 327 U.S. 392, 396,
                   66 S.Ct. 582, 90 L.Ed. 743 (1946)). We affirm the district court's
                   consideration of “all facts and circumstances in evaluating the
                   plaintiff's intent,” id., as well as its exercise of its discretion in
                   defense of the integrity of the judicial process. Korman's current
                   position is clearly inconsistent with her earlier one, which was
                   fully accepted by the 1990s district court. Although that
                   acceptance did not result in success for Korman, allowing her to
                   proceed with her new position would still create the perception that
                   the first court was misled. Allowing Korman's new position would
                   also give her an unfair advantage, granting her a second chance to
                   litigate a timeworn claim. See generally New Hampshire, 532 U.S.
                   at 750–51, 121 S.Ct. 1808. The district court was entitled to defend
                   itself against Korman's attempt to circumvent the time bar by
                   asserting diametrically opposed facts. The balance of equities here
                   favors barring Korman's present complaint in order to “protect the
                   judiciary, as an institution, from the perversion of judicial



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                   machinery.” See Edwards v. Aetna Life Ins. Co., 690 F.2d 595, 599
                   (6th Cir. 1982).

   Korman v. Iglesias, 778 Fed. Appx. 680, 683 (11th Cir. 2019) (emphasis added). See also Weakley

   v. Eagle Logistics, 894 F.3d 1244, 1247 (11th Cir. 2018) (“Because the district court considered

   all the facts and circumstances of Weakley's cases in determining whether he intended to mislead

   the bankruptcy court . . . , it did not abuse its discretion by applying judicial estoppel and dismissing

   these two lawsuits that he failed to disclose in his bankruptcy proceeding”); Henderson v. Franklin,

   782 Fed. Appx. 866, 872 (11th Cir. 2019) (“the district court did not abuse its discretion in

   determining based on all of the facts and circumstances of the case that Henderson intended to

   make a mockery of the judicial system by pressing his USSA claims in one forum while denying

   their existence in another”).

           Here, all of the elements of judicial estoppel have been satisfied. In his divorce

   proceedings, Plaintiff repeatedly took the position (in deposition, in sworn interrogatory answers,

   in affidavits and in pleadings) that he “retired” or “resigned” from the University and was no longer

   looking for employment. The reason for this is obvious: Plaintiff’s ex-wife sought alimony and, in

   light of the duration of their marriage (approximately thirteen years) and his superior earning

   power (she did not work during the marriage while he earned millions), she would have been

   entitled to same. See, e.g., Valente v. Barion, 146 So. 3d 1247, 1249 (Fla. 2d DCA 2014) (“The

   parties' twelve-year marriage is regarded as a moderate-term marriage. See § 61.08(4). In such a

   case, permanent alimony may be awarded, but the trial court must decide that it is appropriate

   ‘based upon clear and convincing evidence after consideration of the factors set forth in subsection

   [61.08] (2).’ § 61.08(8)”); see also Walker v. Walker, 85 So. 3d 553, 554 (Fla. 1st DCA 2012) (“In

   order to award permanent alimony, the trial court must make specific factual determinations with

   regard to actual need on the part of the former spouse seeking an alimony award.”); Addie v. Coale,



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   120 So. 3d 44, 47 (Fla. 4th DCA 2013) (noting that, in “a gray area or moderate term marriage,

   the disparate earning power of the parties is a significant factor in determining whether permanent

   or temporary support is appropriate.”). Plaintiff’s representations before the divorce court - - which

   his ex-wife unequivocally relied on and which were adopted by the divorce court in the settlement

   agreement and final judgment - - resulted in no alimony to Plaintiff’s ex-wife. Now, years later,

   Plaintiff claims that he was terminated from all of his positions at the University and has actively

   looked for comparative employment over the last ten years with no success, seeking millions in

   damages.

          At trial, Plaintiff contended that the seal affected his sworn answers in his divorce case.

   Putting aside the fact that the seal would not permit Plaintiff to perjure himself, his contention is

   belied by the evidence and Plaintiff’s own testimony. Plaintiff openly answered questions

   regarding his employment and characterized it however he and his lawyers saw fit in the divorce

   case. Those same lawyers (and Plaintiff himself) are now presenting contrary positions before this

   Court. That kind of gamesmanship simply is not allowed. 9




   9
          Plaintiff also cannot shift the blame to his attorneys. As this Court has recognized in
   applying the doctrine of judicial estoppel:

                  And it is of no moment that the numerous pre-trial statements
                  concerning the effect of Franco's agent's actions were made by
                  Indemnity's lawyer, rather than Cohen directly. See Hall v. GE
                  Plastic Pac. PTE Ltd., 327 F.3d 391, 396 (5th Cir.2003) (doctrine
                  of judicial estoppel, which prevents a party from asserting a position
                  in a legal proceeding that is contrary to a position taken previously
                  in the same or earlier proceeding, may be invoked through
                  statements made by an attorney and imputed to the party).

   Ocean's 11 Bar & Grill, Inc. v. Indem. Ins. Corp. RRG, 11-61577-CIV, 2012 WL 5398625, at *19
   (S.D. Fla. Nov. 2, 2012) (Altonaga, J.), aff'd, 522 Fed. Appx. 696 (11th Cir. 2013).


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          D.      There is no Legally—Sufficient Evidence to Support Plaintiff’s Damages
                  Claims.

          The above analysis should end the inquiry. However, in the event the Court denies the

   University’s Motion as to liability, the Court nevertheless should enter a directed verdict on

   Plaintiff’s various items of damages. Plaintiff claims damages for backpay, interest on same,

   emotional distress and reputational harm. 10

          Given Plaintiff’s repeated admissions that he “retired” in July 2013 and was “not looking

   for work” thereafter, Plaintiff cannot now seek backpay damages. In fact, aside from two potential

   employers who approached him over the last ten years, Plaintiff has made no attempts to find

   employment. 11 The University is entitled to a directed verdict of Plaintiff’s claim for backpay.

          Without backpay damages, Plaintiff cannot seek prejudgment interest on same. Further, as

   more fully set forth in the University’s Daubert Motion (D.E. 141 at 14-16), which the University

   incorporates by reference, Plaintiff’s calculations as to prejudgment interest are not in accord with

   Eleventh Circuit law. See Cote v. Shinseki, 2009 WL 3246602, at *6 (M.D. Fla. Oct. 6, 2009) (“In

   the Eleventh Circuit, the “interest rate for prejudgment interest on back pay awards under Title VII

   depends on the IRS prime rates calculated in accordance with 28 U.S.C. § 1961”) (collecting

   cases). Disregarding this authority, Plaintiff and his “expert,” David Duffus, used Florida judgment

   interest rates (which Plaintiff’s counsel instructed Mr. Duffus to use). For this additional reason,

   the University is entitled to a directed verdict on same.




   10
          The University renews its arguments in its Motion in Limine that Plaintiff should not be
   permitted to seek damages for emotional distress or reputational harm because he failed to disclose
   them during discovery and, instead, represented that those areas would be the subject of expert
   testimony, which expert testimony never was provided. (See D.E. 157 at 6-9.)
   11
          At a minimum, the Court should direct a verdict as to the 15-month period in 2014-2015
   when Plaintiff swore in his divorce case that he was not looking for work. (See Exhibit D-43.)


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           As to emotional distress damages, Plaintiff admitted at trial that he has not sought any

   medical treatment and that, in his opinion as a medical doctor, such treatment was not warranted. 12

   Therefore, at best, Plaintiff would be limited to garden-variety emotional distress damages, as

   Plaintiff admittedly did not seek any medical treatment for his alleged emotional distress. See Fair

   Hous. Ctr. of the Greater Palm Beaches, Inc. v. Sonoma Bay Cmty. Homeowners Ass'n, Inc., No.

   914CV80667ROSENBERGB, 2015 WL 5016836, at *3 (S.D. Fla. Aug. 25, 2015); City of

   Hollywood v. Hogan, 986 So. 2d 634, 648–49 (Fla. 4th DCA 2008) (citing Reiter v. Metro. Transp.

   Auth. of N.Y., MTA, 2003 WL 22271223, *9 (S.D.N.Y. Sept. 30, 2003)). In any event, Plaintiff

   failed to present any evidence sufficient for the Jury to award or quantify such damages. The

   University is entitled to a directed verdict on this issue. See Akouri v. State of Fla. Dept. of Transp.,

   408 F.3d 1338, 1345–46 (11th Cir. 2005) (affirming district court’s reversal of jury’s award of

   emotional distress damages because plaintiff failed to introduce evidence of “any kind of harm,

   mental, emotional, or otherwise, arising from the discrimination”).

           Finally, Plaintiff failed to introduce into any evidence of reputational harm: He has

   admitted that the University did not publicly disparage him; there is no dispute that the University

   provided no comments to (and has no control over) the Miami Herald; the contents of the Miami

   Herald articles were not introduced into evidence (meaning that Plaintiff cannot demonstrate how

   those articles caused him any harm); and, perhaps most importantly, Plaintiff failed to introduce

   any evidence that someone in the community or a potential employer read those articles and had a




   12
           To the extent Plaintiff claims that the delay in this case caused by the seal caused him
   damage, that cannot be visited on the University. As the parties agreed in the proposed Neutral
   Statement (as has been repeatedly stated to jury both by the Court and Plaintiff’s counsel), the
   seal/delay was neither the fault of Plaintiff nor the University.


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   negative view of Plaintiff thereafter. 13 See DeMarco v. Publix Super Markets, Inc., 360 So. 2d 134,

   136 (Fla. 3d DCA 1978) (rejecting claim based on “damage to [plaintiff’s] reputation in that his

   firing imputed that he was unreliable or incompetent”), aff'd, 384 So. 2d 1253 (Fla. 1980).

          In sum, there is absolutely no evidentiary support for any of Plaintiff’s damages claims,

   and the Court properly should direct a verdict in favor of the University as to same.

                                            CONCLUSION

          The University is entitled to judgment as a matter of law/directed verdict on Plaintiff’s

   retaliation claim. The Jury simply does not have a legally sufficient evidentiary basis to find in

   favor of the Plaintiff in this case. Accordingly, Defendant, University of Miami, respectfully

   requests that the Court direct a verdict in favor of the University on the claim asserted against it

   by Plaintiff, Dr. Jonathan Lord, and grant such further and other relief as the Court deems

   appropriate.

                                                 Respectfully submitted,

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   13
          Even Plaintiff’s own “expert,” Jeffrey Ketchum, admitted this fact. (See 9/23/22 testimony
   at approximately 3:44 p.m. (noting there was “no evidence” that articles harmed Plaintiff’s job
   search)).


                                                   20
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                                 CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of the foregoing has been served via

   hand delivery and CM/ECF this 3rd day of October, 2022, upon the following:

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